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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

        MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


EDWARD BRAGGS, et al.,              )
                                    )
        Plaintiffs,                 )
                                    )      CIVIL ACTION NO.
        v.                          )        2:14cv601-MHT
                                    )             (WO)
JOHN HAMM, in his                   )
official capacity as                )
Commissioner of                     )
the Alabama Department of           )
Corrections, et al.,                )
                                    )
        Defendants.                 )

                   ORDER REGARDING PLAINTIFFS’
                     MEETING WITH THE SAVAGES

    The court previously ordered the parties to “file a

joint    status    report   updating      the   court     as   to     their

progress to develop a plan for the plaintiffs to discuss

with Russ and Meg Savage their role in updating the

correctional       staffing     analysis.”           Revised         Remedy

Scheduling Order (Doc. 3781) at 5.

    In response, the parties submitted a joint filing

detailing     a   proposed     timeline      for    the    plaintiffs’

discussion with the Savages.            See Joint Status Report on

Plaintiffs’       Discussion     with     the    Savages       and     High
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Temperatures in Mental Health Units (Doc. 3797) at 1.

The parties noted that they had mediated the issue with

Judge Ott and have set the meeting between counsel for

the plaintiffs and Russ and Meg Savage for October 11,

2022.   See id. at 2.      The parties further noted that they

will file a report with the court by October 17, 2022,

advising if any additional mediation or court action is

necessary.     See id.

    Accordingly, it is ORDERED that:

    (1) The court adopts the parties’ jointly proposed

          timeline (Doc. 3797) to the extent set forth in

          this order.

    (2) The parties are to proceed with the scheduled

          meeting between counsel for the plaintiffs and

          the Savages on October 11, 2022.

    (3) The parties are to file a joint report with the

          court by 5:00 p.m., on October 27, 2022, advising

          whether further court action and/or mediation is

          needed.

    DONE, this the 11th day of October, 2022.

                                    /s/ Myron H. Thompson
                                 UNITED STATES DISTRICT JUDGE
